Case 2:04-cr-20456-.]DB Document 54 Filed 04/19/05 Page 1 of 2 Page|D 59

v - 17
IN THE UNITED sTATEs DIsTRIcT coURT F‘l"”` ‘CU‘"/
FOR THE wEsTERN DISTRICT oF TENNESSEE q 1 ,
wEsTERN DIVISION 05 :§“R ig ma

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U'NITED STATES OF AMERICA,
Plaintiff,

VS. CR. NO. 04-20456-01-]3

Sylvia Johnson,

Defendant.

-__,~_,~_,~_,-__,~__,§__,~_»-_-,~

 

ORDER ON CHANGE OF PLEA
NT>SETTING

 

This cause came to he heard on April 19, 2005, the United States Attorney
for this district, Rae Oliver, appearing for the Government and the defendant,
Sylvia Johnsonr appearing in person and with counsel, Eugene Laurenzi, who
represented the defendant.

With leave of the Court, the defendant withdrew the not guilty' plea
heretofore entered and entered a plea of guilty to Count l of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, JULY 21, 2005, at
1:30 P.M., in Courtroom No. 1, on the llth floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

dba

ENTERED this the m day of April, 2005.
J. DANIEL BR`EEN

ITE STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20456 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

